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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 IN RE SURESCRIPTS ANTITRUST                           No. 1:19-cv-06627
 LITIGATION
                                                       Judge John J. Tharp, Jr.
 This Document Relates To:
 All Class Actions                                     Magistrate Judge Susan E. Cox



                      UNOPPPOSED JOINT MOTION FOR LEAVE
                    TO FILE BRIEFS IN EXCESS OF FIFTEEN PAGES

       Defendants Surescripts, LLC and Allscripts Healthcare Solutions, Inc. (“Defendants”)

jointly move this Court for leave to file briefs in excess of 15 pages in connection with the parties’

forthcoming Daubert motions. Defendants intend to file motions to exclude the testimony of

Daniel F. Spulber, Ph.D., and Michele V. Davidson and anticipate that briefs in support of and in

opposition to the Daubert motions will exceed the 15 page limit set forth in L.R. 7.1. Following

e-mail correspondence between Defendants and Plaintiffs on the subject, Plaintiffs have consented

to the following page limit extensions for all Daubert briefs: Daubert motions shall not exceed 30

pages in length; Daubert motion responses shall not exceed 20 pages in length; and Daubert

motion replies shall not exceed 15 pages in length. In support of this motion, Defendants state as

follows:

           1.   Plaintiffs served Dr. Spulber’s Opening Report and Rebuttal Report on August 17,

2023 and October 19, 2023, respectively. Together, Dr. Spulber’s Reports exceed 800 paragraphs

in length.

           2.   Plaintiffs served Ms. Davidson’s Opening Report and Rebuttal Report on August

17, 2023 and October 19, 2023, respectively. Together, Ms. Davidson’s Reports exceed 120

paragraphs in length.

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        3.     Local Rule 7.1 provides that neither a motion nor brief in support of or in opposition

to any motion shall exceed 15 pages without prior approval of the Court.

        4.     Defendants anticipate filing Daubert motions as to certain testimony proffered by

Dr. Spulber and Ms. Davidson. Defendants will coordinate in drafting their briefs in support of

the Daubert motions so as to ensure efficiency and avoid repetition.

        5.     Specifically, Defendants seek leave to file briefs with the following page limits: (1)

Daubert motions shall not exceed 30 pages in length; and (2) Daubert motion responses shall not

exceed 20 pages in length. Daubert motion replies shall not exceed 15 pages in length, in

accordance with Local Rule 7.1.

        6.     Following e-mail correspondence on the subject, Plaintiffs consented to the page

limit extensions for Daubert motions and motion responses set forth above.

       WHEREFORE, Defendants respectfully request that the Court grant Defendants leave to

file briefs in excess of 15 pages as described above.


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